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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

PERKINS COIE LLP,
              Plaintiffs,
     v.
U.S. DEPARTMENT OF JUSTICE,
FEDERAL COMMUNICATIONS               Civil Action No. 25-716
COMMISSION, OFFICE OF
MANAGEMENT AND BUDGET,
EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION, OFFICE
OF PERSONNEL MANAGEMENT,
GENERAL SERVICES
ADMINISTRATION, OFFICE OF THE
DIRECTOR OF NATIONAL
INTELLIGENCE, THE UNITED STATES
OF AMERICA, and, in their official
capacities, PAMELA J. BONDI,
BRENDAN CARR, RUSSELL T.
VOUGHT, ANDREA R. LUCAS,
CHARLES EZELL, STEPHEN
EHEKIAN, and TULSI GABBARD,
              Defendants.




            DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION
                    TO THE MOTION TO DISMISS
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                                        INTRODUCTION
       As in its Complaint, Plaintiff’s main strategy in its opposition (ECF 142, “Opposition”)

to Defendants’ motion to dismiss (ECF 43, “Motion”) is repetition. Its theory seems to be that, if

it calls the Executive Order a “punishment” enough, the Court will see things the same way. And

because Plaintiff (and its clients) have received Federal funds, Plaintiff seems to think that

declining to provide such funds in the future suddenly becomes “punishment.” By Plaintiff’s

lights, a government contract is a blood oath to fund private parties in perpetuity.

       The Court should not buy it. Plaintiff cannot dispute that its conduct is subject to

reasonable scrutiny, and it cannot dodge the fact that it has engaged in aggressive DEI practices

and sanctionable litigation conduct. That is the heart of the case. This Court should not

announce a rule that the Government cannot consider an employer’s conduct in determining

whether the employee should be trusted with this nation’s secrets. This Court should not strip

away the Government’s longstanding authority to use its procurement power to advance the

cause of equality in the workplace. This Court should not exempt Perkins Coie from the civil

rights laws. And this Court should not muzzle agencies from providing mere guidance on

Federal building access.

       At bottom, Plaintiff does not like what the Government says about Perkins Coie. That is

unsurprising. What is surprising is that Plaintiff thinks that the proper recourse is to go to court

to fix that. This Court should dismiss this case.




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                                           ARGUMENT

                                         Motion to Dismiss

       As noted in Defendants’ opposition to Plaintiff’s motion for summary judgment (ECF

143, “MSJ Opposition”), Section 1 of the Executive Order sets out the Executive Branch’s

concerns regarding the Plaintiff. This ability to engage in speech of this kind is an essential

function for the Executive Branch. See, e.g., Pleasant Grove City, Utah v. Summum, 555 U.S.

460, 468 (2009) (“Indeed, it is not easy to imagine how government could function if it lacked

this freedom.”). To the degree Plaintiff disfavors this speech, the appropriate remedy is to be

found through the ballot box, not through a request from a co-equal branch of government to

silence a peer. Id. (noting the Government is “ultimately accountable to the electorate and the

political process for its advocacy,” and “[i]f the citizenry objects, newly elected officials later

could espouse some different or contrary position.”). Indeed, the fact that Plaintiff does not ask

this Court to somehow enjoin the Fact Sheet illustrates why this Court should not enjoin Section

1. In either case, the Government is simply engaging in its own speech.

       Section 2 of the Executive Order addresses security clearances. Plaintiff’s Opposition (at

11) takes a narrow view of what can be considered when evaluating security clearances. In fact,

the D.C. Circuit recognized in Lee v. Garland that “[c]learance decisions involve an assessment

of intangible qualities such as ‘loyalty to the United States, strength of character, trustworthiness,

honesty, reliability, discretion, and sound judgment.’” 120 F.4th 880, 893 (D.C. Cir. 2024)

(quoting EO 12,968). Any number of things can call into question a person’s “reliability,”

“strength of character,” “discretion,” or “sound judgment”—to name a few candidates: apparent

lack of compliance with civil rights laws or sanctionable conduct in litigation. But, more

importantly, Lee’s point was that, whatever the President decides in these respects raise
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“unmanageable questions” for the judiciary to answer. Id. In Lee, the D.C. Circuit held that it

“cannot, and should not, second-guess the Executive Branch[‘s]” determinations on what

information is “relevant” to permitting access to classified material. Id. at 894. Just so here.

       The Opposition (at 16) attacks Section 3 on the basis that there is no interest or legal

authority to address the activities of third parties used by contractors. This is incorrect on both

counts. Section 3 falls squarely within the well supported tradition of the use of procurement

power to advance social policies, in this case, racial discrimination. Executive Order § 3(a). The

government’s interest in eliminating discrimination in the work force has long been recognized

as a legitimate basis for the exercise of discretion in determining contracting partners for the

government. See, e.g., Contractors Ass’n of Eastern Pa. v. Secretary of Labor, 442 F.2d 159,

168-71 (3d Cir. 1971). Furthermore, requirements for contractors to certify that their

subcontractors are compliant with Executive Orders related to anti-discrimination laws have long

been part of the regulations governing procurement. See, e.g., 41 CFR 60-1.4(b) sub 8 (stating,

in part, “The applicant further agrees that it will refrain from entering into any contract or

contract modification subject to Executive Order 11246 of September 24, 1965, with a contractor

debarred from, or who has not demonstrated eligibility for, Government contracts and federally

assisted construction contracts pursuant to the Executive Order and will carry out such sanctions

and penalties for violation of the equal opportunity clause as may be imposed upon contractors

and subcontractors by the administering agency or the Secretary of Labor pursuant to Part II,

Subpart D of the Executive Order.”).

       The Opposition’s protest about the sufficiency of the Executive Order’s rationale (at 16)

is also unsupported by authority in this Circuit. As noted in Defendant’s MSJ Opposition, great

deference is due to Executive Orders addressing efficiency in the workplace of government

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contractors. See, e.g., UAW-Labor Employment & Training Corp. v. Chao, 325 F.3d 360, 366-67

(D.C. Cir. 2003) (noting that executive orders need only have a “sufficiently close nexus to the

values of providing the government an economical and efficient system for procurement and

supply” to comply with the Procurement Act). The same goes for the Opposition’s suggestion

that it makes no difference even if the President has a “legitimate basis” to terminate contracts

with Perkins Coie. Opp. at 14. Again, the Government has long harnessed its procurement

power to combat racial discrimination in the workplace, and Section 3 is merely the other side of

that same coin. The Opposition does not grapple with the fact that First Amendment retaliation

requires but-for causation. Houston Community College Sys. v. Wilson, 595 U.S. 468, 477

(2022). Even assuming the Opposition is right (and it is not) that the President cannot consider

Perkins’s indiscretions in litigation, there is still no retaliation claim to be had if the President

would have imposed Section 3’s restrictions anyway.

        Lastly, the Opposition (at 13 n.7) appears to concede that Perkins “does not hold

government contracts.” That only goes to show that its reliance on Bd. of Cnty. Cmm’rs v.

Umbehr, 518 U.S. 668, (1996), is misplaced. That case addressed a contractor’s claim that his

contract was terminated in violation of the First Amendment. Id. As noted, Plaintiff has not and

cannot allege that the Executive Order has resulted in the termination of any contracts. And

while Section 3 is amply supported by the principle that the procurement power may be used to

advance social policy, even assuming that Umbehr applied to Section 3 it is vital to note that the

Court pointedly limited the decision to existing contracts. Id. at 685 (“Finally, we emphasize the

limited nature of our decision today. Because Umbehr’s suit concerns the termination of a pre-

existing commercial relationship with the government, we need not address the possibility of

suits by bidders or applicants for new government contracts who cannot rely on such a


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relationship.”). How Umbehr can be reconciled with the Government’s undisputed interests in

efficiency or in combating racial discrimination in the workplace is simply not a question before

this Court.

       The Opposition attacks Section 4 on the grounds that it “is at most redundant.”

Opposition at 18. This position highlights another of the troubling features of Plaintiff’s

Complaint, namely, the intrusion into the effective operation of the Executive Branch. Plaintiff’s

argument appears to be that prior executive orders on a subject are enough, and at that point

additional communications between the White House and agencies on the same subject are not

only redundant, but capable of judicial review. As noted in the MSJ Opposition, Section 4 is

nothing other than additional direction to the EEOC to pursue tasks it could already be doing.

Furthermore, the form of relief requested—enjoining the EEOC from reviewing potential

violations of Title VII—is completely without legal support.

       Finally, as to Section 5, Plaintiff asserts that the claim is ripe but overlooks the fact that

Section 5 calls for guidance to be issued, yet no guidance has been issued. As noted in the

Motion and the MSJ Opposition, Plaintiff’s concerns are all merely speculative and conjectural.

Every argument Plaintiff makes as to Section 5 is, at the end of the day, an argument that an

agency’s guidance will be improper. But, of course, the Court should wait for there to actually be

guidance before addressing those arguments. Until then, Plaintiff tilts at imaginary windmills.

                                       Motion to Reconsider

       Plaintiff’s Opposition to the Motion to Reconsider highlights yet another flaw in the

Complaint. Plaintiff seeks to bind every federal agency but has not alleged a plausible nexus

between the non-named agencies and any injury that it may suffer. Plaintiff’s reliance on 5


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U.S.C. § 702 is misplaced. That section allows injunctions to be implemented by naming “the

Federal officer or officers (by name or by title) … personally responsible for compliance.” To

the extent Plaintiff is unable to list every officer it would like to enjoin, that merely highlights

Plaintiff’s lack of standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). If Plaintiff

cannot even name the supposedly offending agencies, it is hard to see how Plaintiff can possibly

allege that it has suffered any harm traceable to them. It is the Plaintiff’s burden to allege which

agencies have caused it traceable injury and this is not satisfied through a broad and general

accusation against the United States. Defendants respectfully submit that this Court’s Order

should be modified to bind only the agencies named by the Plaintiff.

                                          CONCLUSION

       The Court should dismiss the Complaint and grant judgment to Defendants.

 Dated: April 18, 2025                         Respectfully submitted,
        Washington, DC

                                               CHAD MIZELLE
                                               Acting Associate Attorney General


                                               /s/ Richard Lawson
                                               RICHARD LAWSON
                                               Deputy Associate Attorney General
                                               950 Pennsylvania Avenue, NW
                                               Washington, DC 20530
                                               Telephone: (202) 445-8042

                                               Counsel for Defendants




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